                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       at WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:11-cr-16
 v.                                                    )
                                                       )       MATTICE / LEE
 ARCHIE RANDALL DUGGAN                                 )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Seven of the

 fourteen-count Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(B) and Count Seven, felon in possession of a firearm or ammunition in

 violation of 18 U.S.C. § 922(g); (3) adjudicate Defendant guilty of the lesser included offense of the

 charge in Count One of the Indictment, that is of conspiracy to manufacture and distribute five (5)

 grams or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in violation

 of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count Seven, felon in possession of a firearm or

 ammunition in violation of 18 U.S.C. § 922(g); (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

 matter [Doc. 108]. Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation



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 [Doc. 108] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Counts One and Seven of the

              Indictment is GRANTED;

       (2)    Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

              that is of conspiracy to manufacture and distribute five (5) grams or more of

              methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

              containing a detectable amount of methamphetamine, a Schedule II controlled

              substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count Seven, felon

              in possession of a firearm or ammunition in violation of 18 U.S.C. § 922(g) is

              ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

              in Count One, that is of conspiracy to manufacture and distribute five (5) grams or

              more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

              substance containing a detectable amount of methamphetamine, a Schedule II

              controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count

              Seven, felon in possession of a firearm or ammunition in violation of 18 U.S.C. §

              922(g);

       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

              and

       (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

              scheduled to take place on Monday, October 17, 2011 at 2:00 p.m. before the

              Honorable Harry S. Mattice, Jr.

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       SO ORDERED.

       ENTER:



                                                 /s/Harry S. Mattice, Jr.
                                                 HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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